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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

                     Case Number: 14-21192-CIV-MARTINEZ-GOODMAN

  JORGE A. AGRELO and OLGA M.
  FERNANDEZ, individuals,

                         Plaintiffs,
  vs.

  THE MELONI LAW FIRM, a corporation;
  AFFINITY MANAGEMENT SERVICES,
  LLC, a limited liability corporation;
  MARBELLA PARK HOMEOWNER’S
  ASSOCIATION, INC., a Non-Profit
  Corporation; EDOARDO MELONI, ESQ., an
  individual; and ALEXIS MCDONALD, an
  individual
                         Defendants.
  _____________________________________/

                                       PLANTIFFS’WINTESS LIST


         Plaintiffs, Jorge A. Agrelo and Olga M. Fernandez, by and through their undersigned

  counsel, and pursuant to the Court’s Scheduling Order dated June 11, 2014 hereby file and serve

  their Witness List as follows:


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                 OLGA M. FERNANDEZ
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  DATED: September 10, 2014

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                                           /S/ DAVID P. REINER, II
                                     By:_____________________________________
                                        DAVID P. REINER, II; Fla. Bar No. 416400




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 10, 2014, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who are
  not authorized to receive electronically Notices of Electronic Filing.

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                                                   /S/ DAVID P. REINER, II
                                             By:_____________________________________
                                                DAVID P. REINER, II; Fla. Bar No. 416400




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                                     SERVICE LIST
                         CASE NO.: 14-CV-21192 - JEM/GOODMAN



  Via CM/ECF

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